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                           The Honorable Kiyo A. Matsumoto
                           United States District Court
                           Eastern District of New York
                           United States Courthouse
                           225 Cadman Plaza East
                           Brooklyn, NY 11201

                           Re:    United States v. Braun, et al., No. 10-cr-433-KAM — Withdrawal
                                  of Motion

                           Dear Judge Matsumoto:

                           I represent The New York Times Company (“The Times”) in its motion to
                           unseal certain court records in this matter (Dkt. No. 199). Pursuant to the
                           Court’s endorsed order of January 12, 2024, we write to inform the Court
                           that The Times has decided to withdraw its motion.

                           We thank the Court for its consideration.

                           Respectfully submitted,




                           David E. McCraw



                           cc: Counsel of record (by ECF)
